    Case: 1:18-cv-00193-SJD Doc #: 20 Filed: 08/02/18 Page: 1 of 1 PAGEID #: 155


                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

Shalom Ifeanyi,                                     :
                                                    :
                  Plaintiff(s),                     :
                                                    :   Case Number: 1:18cv193
           vs.                                      :
                                                    :   Judge Susan J. Dlott
Molly Alvey, et al.,                                :
                                                    :
                  Defendant(s).                     :

                                                  ORDER

           The Court having been advised by counsel for the parties that the above matter has been

settled, IT IS ORDERED that this action (including all claims by all parties) is hereby

DISMISSED WITH PREJUDICE, provided that any of the parties may, upon good cause shown

not later than October 3, 2018, reopen the action if settlement is not consummated. The parties

may substitute a judgment entry contemplated by the settlement agreement upon approval of the

Court. Parties intending to preserve this Court’s jurisdiction to enforce a settlement should be

aware of Kokkonen v Guardian Life Ins. Co. Of America, 511 U.S. 375, 381-82 (1994), and

incorporate appropriate language in any substituted judgment entry.

           This Court explicitly retains jurisdiction to enforce settlement agreement reached by the

parties.

           Each party shall bear its own costs.

           IT IS SO ORDERED.



                                                        ___s/Susan J. Dlott___________
                                                        Susan J. Dlott
                                                        United States District Court
